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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                    Criminal No.         12-mj-01-01-LM

Shyloe Piper Johnson



                     ORDER OF DETENTION PENDING TRIAL


     In accordance with 18 U.S.C. § 3142(f), a hearing was conducted

on January 5, 2012, to determine whether to detain the defendant,

Shyloe Piper Johnson, who has been charged by complaint with aiding

and abetting bank robbery, in violation of 18 U.S.C. § 2113(a) and

2(a).1 The court issued its detention order orally from the bench,

and this written order summarizes those findings and rulings.                  See

18 U.S.C. § 3142(i)(1).


                                 Legal Standards

     Section 3142(f) of the Bail Reform Act, 18 U.S.C. §§ 3141-3156,

“does not authorize a detention hearing whenever the government

thinks detention would be desirable, but rather limits such hearings”

to the circumstances listed in 18 U.S.C. § 3142(f)(1) and (f)(2).


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       Defendant conceded the existence of probable cause for the
charge and waived her right to a preliminary hearing under Rules 5.1(a)
and (e).
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United States v. Ploof, 851 F.2d 7, 10 (1st Cir. 1988).        In this case,

the government argued that a detention hearing was warranted under

18 U.S.C. § 3142(f)(1)(A), as the alleged crime, aiding and abetting

bank robbery, is a “crime of violence.”     Defendant argued that, while

bank robbery qualifies as a “crime of violence” under § 3142(f)(1)(A),

aiding and abetting that crime does not so qualify.

     Under the Bail Reform Act, the term “crime of violence” is

defined, in relevant part, as

          (A) an offense that has [as] an element of the offense
     the use, attempted use, or threatened use of physical force
     against the person or property of another; [or]

           (B) any other offense that is a felony and that, by
     its nature, involves a substantial risk that physical force
     against the person or property of another may be used in
     the course of committing the offense.

18 U.S.C. § 3156(a)(4)(A)-(B)

     Defendant conceded that the crime of bank robbery, 18 U.S.C.

§ 2113(a), qualifies as a crime of violence under the above definition.

Defendant did not concede, however, that under the Bail Reform Act,

aiding and abetting a “crime of violence” was itself a “crime of

violence.”

     In United States v. Mitchell, the First Circuit answered this

question in the government’s favor.        See 23 F.3d 1, 3 (1st Cir.

1994). Concluding that conspiracy to commit arson was a crime of

violence under the Bail Reform Act, the court reasoned:



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     One who aids and abets an offense is punishable as a
     principal; 18 U.S.C. § 2, and the acts of the principal
     become those of the aider and abetter as a matter of law.
     . . . Accordingly, as other courts have held in analogous
     circumstances, aiding and abetting the commission of a
     crime of violence is a crime of violence.

Mitchell, 23 F.3d at 3 (internal citations and emphasis removed).

Applying Mitchell here, the court finds that the crime charged, aiding

and abetting bank robbery, is a crime of violence under 3156(a)(4),

and, as such, the detention hearing was appropriately requested.

     Pursuant to § 3142(f), the court must next determine whether

any condition or combination of conditions set forth in § 3142(c)

will reasonably assure the appearance of the defendant (“risk of

flight”) and the safety of any other person and the safety of the

community (“dangerousness”).     18 U.S.C. § 3142(f); United States v.

Patriarca, 948 F.2d 789, 791 (1st Cir. 1991).          In making this

determination, the court must consider the following: (1) the nature

and circumstances of the offense charged; (2) the weight of the

evidence as to guilt; (3) the history and characteristics of the

accused, including family ties, past history, financial resources

and employment; and (4) the nature and seriousness of the danger to

any person or the community that would be posed by a release.       18 U.S.C.

§ 3142(g).

     During the course of a hearing conducted pursuant to 18 U.S.C.

§ 3142, the government has the burden of persuading the court that



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no condition or combination of conditions will reasonably assure (1)

the defendant’s presence at trial, United States v. Perez-Franco,

839 F.2d 867, 870 (1st Cir. 1988); or (2) the safety of another or

the community, Patriarca, 948 F.2d at 793.         For its part, the

government is required to prove risk of flight by a preponderance

of the evidence and to establish dangerousness by clear and convincing

evidence.   See id. at 792-93.


                         Findings and Rulings

     In the instant case, the government argued that defendant’s

release posed both a serious risk of flight and danger.             After

weighing the evidence and balancing the factors laid out in 18

U.S.C. § 3142(g), the court found that the government met its burden

under the dangerousness prong.

     The court’s finding of dangerousness was not controlled by one

factor alone.   Rather, it was the combination of risk factors that

persuaded the court that defendant’s release, even on strict

conditions, presents too great a danger to the community.             Those

factors are listed below:

           Nature of the crime.    Defendant allegedly assisted her

            co-defendants in a violent bank robbery, which involved

            the apparent use of a gun, threats of physical harm and

            assaults on a bank teller and other customer-bystanders



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     at the bank.   The crime was violent, dangerous, and as

     described in the sealed affidavit, likely terrifying for

     those present at the bank while the crime was being

     committed.

    Weight of the evidence.      The evidence against this

     defendant is extremely strong and includes tape-recorded

     statements of defendant describing the bank robbery.

     Those recordings include statements by defendant during

     which she appears to be bragging and, at one point, laughing

     about the bank robbery.

    History and characteristics of defendant.           Defendant is

     young (25 years old) and immature.        She has a history of

     exercising poor judgment with respect to important life

     decisions.   She married a convicted felon at age 20, was

     a victim of domestic violence, and divorced him in August

     2011.   In October 2011, defendant met her co-defendant, Mr.

     Williams, the lead actor in the bank robbery (who is a

     convicted felon with a lengthy record, including bank

     robberies, for which he has served time in a federal prison

     in California).    In November 2011, defendant went to

     California with Mr. Williams and remained there for

     approximately three weeks.      In her recorded statements,



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     defendant describes Mr. Williams as “my man.”          At the time

     of her arrest, defendant was residing with Mr. Williams

     in a hotel in Laconia.

    Unaddressed substance abuse issues.         Defendant has an

     unaddressed substance abuse problem and admits to consuming

     illegal drugs including crack cocaine.           From 2005 through

     2010, defendant was ingesting 80 mg. Oxycontin pills on

     a daily basis.

    Did not follow through on treatment.         Several years ago,

     defendant obtained a drug abuse evaluation through

     Horizons Counseling Center in Gilford.           Although offered

     treatment, defendant declined to follow through with it.

    Criminal record.    Defendant has a criminal record, which

     includes two misdemeanors (shoplifting and criminal

     liability for conduct of another) and two driving offenses.

     Although her criminal record by itself may not support a

     dangerousness finding, it is a risk factor indicating a

     lack of respect for the law.

    Close family ties but not strong influence.         Defendant has

     strong ties to her family in New Hampshire.        However, those

     strong ties have not prevented the defendant from making

     poor life decisions.    Prior to living in a hotel with Mr.



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            Williams, defendant was residing with her father, with whom

            she has a close relationship.         Unfortunately for

            defendant, her father cannot offer her a stable residence

            because he has recently been sentenced to serve time on

            state charges (habitual offender).

           Employment history.     Defendant has been unemployed since

            April 2011.     Her most recent employment history involves

            short-term jobs, although she appears to have worked

            steadily for the same employers from 2007-2009.

           Combined risk factors.        The nature of the charged crime is

            extremely violent, the weight of the evidence is strong,

            and the tape-recorded statements of this defendant give

            some indication that defendant delighted in her involvement

            in the crime.     These factors combined with her history and

            characteristics, as summarized above, provide clear and

            convincing evidence that defendant is too high a risk of

            danger to the community -- even if released under strict

            conditions.

     In sum, the court found that the government met its burden of

proving that defendant’s release, even on strict conditions, presents

too serious a risk of danger to the community.        There are no conditions

or combination of conditions that will reasonably assure the safety



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of the community.    Accordingly, it is ORDERED that the defendant be

detained pending trial.

      The defendant is committed to the custody of the Attorney General

or his designated representative for confinement in a corrections

facility, to be held separately, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending

appeal.   The defendant shall be afforded a reasonable opportunity for

private consultation with defense counsel.         On order of a court of

the United States or on request of an attorney for the government,

the person in charge of the corrections facility shall deliver the

defendant to the United States Marshal for the purpose of appearing

in connection with court proceedings.

      SO ORDERED.



                                         _____________________________
                                         Landya B. McCafferty
                                         United States Magistrate Judge

January 6, 2011

cc:   Behzad Mirhashem, Esq.
      Helen W. Fitzgibbon, Esq.
      U.S. Marshal
      U.S. Probation




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